         Case 1:20-cv-00562-JEJ Document 44 Filed 12/18/20 Page 1 of 1




               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

AARON HOPE,                                   :            1:20-cv-562
et al.,                                       :
        Petitioners-Plaintiffs,               :
                                              :
                     v.                       :            Hon. John E. Jones III
                                              :
CLAIR DOLL, in his official capacity          :
as Warden of York County Prison,              :
et al.,                                       :
        Respondents-Defendants.               :

                                      ORDER

                                  December 18, 2020

       We are in receipt of Petitioners’ notification of an ongoing discovery

dispute in the above-captioned case and will order that this matter be immediately

REFERRED to Magistrate Judge Martin Carlson for resolution.



                                              s/John E. Jones III

                                              John E. Jones III
                                              Chief Judge
                                              United States District Court
                                              Middle District of Pennsylvania




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